                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA                               )    DOCKET NO. 5:08CR43-V
                                                       )
               v.                                      )
                                                       )
JON DARRELL BAKER                                      )    ORDER FOR WRIT
DOB: 8/27/1974                                         )    OF HABEAS CORPUS
PID: 0673817                                           )    AD PROSEQUENDUM
                                                       )

       THIS MATTER is before the Court upon the Government’s Petition for Writ of Habeas

Corpus Ad Prosequendum, and the Court being fully advised in the premises, it is

       ORDERED that pursuant to 28 U.S.C. § 2241(c)(5), the Government’s Petition for Writ of

Habeas Corpus Ad Prosequendum is hereby GRANTED and that the Clerk of the Court shall issue

a Writ of Habeas Corpus ad Prosequendum to Todd Pinion, Administrator of the Piedmont

Correctional Institute, 1245 Camp Road, Salisbury, North Carolina, the United States Marshals

Service and any other federal law enforcement officer, to produce the body of JON DARRELL

BAKER (DOC No. 0673817, W/M, DOB: 8/27/1974) to United States District Court for the

Western District of North Carolina, United States Courthouse located in Charlotte, North Carolina,

on or before                                       .

       DONE AND ORDERED.

                                                Signed: October 3, 2008




     Case 5:08-cr-00043-RLV-DCK            Document 6       Filed 10/03/08     Page 1 of 1
